Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 1 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 2 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 3 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 4 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 5 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 6 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 7 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 8 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                          Document     Page 9 of 10
Case 14-40045   Doc 1   Filed 11/04/14 Entered 11/04/14 11:13:35   Desc Main
                         Document     Page 10 of 10
